













Opinion issued December 1, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00172-CV
____________

IN RE CITY OF WHARTON, CITY OF PASADENA, AND CITY OF
GALVESTON, Relators





Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss this original proceeding.  No
opinion has issued.  Accordingly, the motion is granted, and the original proceeding
is dismissed.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Alcala.


